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                        UNITED STATES DISTRICT COURT
 10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11
       NESTLÉ USA, INC.,
 12
                         Plaintiff,                  CASE NO. 2:15cv06527-CAS-AFM
 13
            v.                                       Hon. Christina A. Snyder
 14
 15    PERVINE FOODS, LLC,                           MEMORANDUM IN SUPPORT OF
                                                     MOTION OF PERVINE FOODS,
 16                      Defendant.                  LLC TO TRANSFER VENUE
                                                     PURSUANT TO 28 U.S.C. § 1404(a)
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   1                  MEMORANDUM OF POINTS OF AUTHORITIES
   2         Pervine Foods, LLC (Pervine), submits its Memorandum in Support of its
   3   Motion to Transfer Venue of this action to the United States District Court for the
   4   Western District of Pennsylvania, pursuant to 28 U.S.C. §1404(a).
   5   I.    BACKGROUND
   6         The gist of the Complaint is Nestlé’s contention that Pervine is infringing
   7   certain trademarks and alleged trade dress through the nationwide sale of its high-
   8   protein FIT CRUNCH® brand bars. Nestlé USA, Inc. (“Nestlé”) asserts claims for
   9   trademark and trade dress infringement, dilution and unfair competition. The only
 10    connection to California and this District is that Nestlé’s principal place of business
 11    is in Glendale, California. (Complaint at ¶6).
 12          Pervine is a Pennsylvania limited liability company based in Pittsburgh,
 13    Pennsylvania. (Declaration of Michaela L. Sozio (“Sozio Decl.”) at ¶8, Ex. 1
 14    (Perich Declaration (“Perich Decl.”) at ¶2)). It sells the award-winning
 15    FIT CRUNCH® baked nutrition bars, created by co-founder and celebrity Chef
 16    Robert Irvine to provide quality nutrition and an unmatched taste. FIT CRUNCH®
 17    makes getting your protein more enjoyable, is sold worldwide and enjoyed by health
 18    conscious consumers of all walks of life. The FIT CRUNCH® mark was awarded
 19    two federal trademark registrations (Reg. Nos. 4,501,292 and 4,501,294) for high-
 20    protein nutritional supplements formed and packaged as bars. (Sozio Decl. at ¶8,
 21    Ex. 1 (Perich Decl. at ¶3)). The FIT CRUNCH® mark and trade dress were the
 22    result of brainstorming sessions which took place in Pittsburgh. The impetus was to
 23    create a product facilitating a healthy fit lifestyle (protein-fortified weight training,
 24    etc.), not a knock-off of any Nestlé product, e.g. the trademark FortiFX, which
 25    appears on all FIT CRUNCH® nutrition bars, stands for “Fortified Nutrition”.
 26    (Sozio Decl. at ¶8, Ex. 1 (Perich Decl. at ¶¶8, 14)).
 27          As Nestlé admits, the NESTLE’S CRUNCH federal trademark registration is
 28    owned by a Swiss corporation, Societe des produits Nestlé S.A. (“Societe”) (Cmpl.
                                                   1
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   1   at ¶ 6 and Ex. A-1 thereto). Nestlé, a Delaware corporation, is the exclusive
   2   licensee for Societe in the United States, both huge multinational corporations.
   3   (Cmpl. at ¶ 6). In contrast, Pervine is a small Pennsylvania limited liability
   4   company located in Pittsburgh, Pennsylvania, with 7 employees. Non-party Bakery
   5   Barn, Inc., the company that manufactures and ships the FIT CRUNCH® products,
   6   is a small Pennsylvania corporation also headquartered in Pittsburgh. (Sozio Decl.
   7   at ¶8, Ex. 1 (Perich Decl. at ¶¶2, 5-7)). Key witnesses regarding creation and design
   8   of the FIT CRUNCH® trademark and packaging and development of the website
   9   fitcrunchbars.com are located in Pittsburgh, as are witnesses regarding marketing
 10    and sales, as well as in New Jersey. (Sozio Decl. at ¶8, Ex. 1 (Perich Decl. at ¶¶ 4,
 11    9-11)). Non-party Chef Robert Irvine, who plays a critical role in promoting and
 12    marketing the FIT CRUNCH® brand, including use of his name and likeness,
 13    maintains a business office in Philadelphia, Pennsylvania. (Sozio Decl. at ¶9, Ex. 2
 14    (Irvine Decl. at ¶ 2-4)). One of Pervine’s primary customers, GNC Holdings, Inc.,
 15    is headquartered in Pittsburgh. (Sozio Decl. at ¶8, Ex. 1 ((Perich Decl. at ¶17)).
 16          The only connection to this District is that Nestlé is located here. However,
 17    Nestlé is simply the licensee of the owner of the intellectual property at issue,
 18    Societe. For these reasons, this Court should transfer this action to the Western
 19    District of Pennsylvania.
 20    II.   ARGUMENT
 21          Pursuant to 28 U.S.C. § 1404(a), a court may transfer an action to any other
 22    district where it might have been brought for the convenience of parties and
 23    witnesses and in the interest of justice.
 24          A. The Western District of Pennsylvania is an Appropriate Forum
 25          A threshold issue is whether a plaintiff’s claims could have been filed in the
 26    judicial district to which transfer is sought. A forum is “adequate” if the parties will
 27    not be deprived of all remedies or treated unfairly. In re Volkswagen AG, 371 F.3d
 28    201, 203 (5th Cir. 2004). This is a trademark infringement action brought under the
                                                   2
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   1   Lanham Act so any federal court has subject matter jurisdiction. B & B Hardware,
   2   Inc. v. Hargis Industries, Inc., 2006 WL 4568798, *3 (C.D. Cal. Nov. 30, 2006).
   3   Nestlé sells its products nationwide and the Complaint alleges nationwide
   4   infringement. Thus, Nestlé could have sought the same relief in any U.S. district
   5   court, including the Western District of Pennsylvania. Venue is appropriate in the
   6   Western District because a substantial part of the events giving rise to the claim
   7   occurred there. 28 U.S.C. §1391(b)(2). Further, Pervine resides in said district and
   8   Nestlé does business there.
   9         B. The Interests of Convenience and Justice are Served by Transfer
 10          In determining whether the convenience and interests of justice elements of
 11    § 1404(a) are met by the proposed transfer, courts consider (1) convenience to the
 12    parties and witnesses; (2) relative ease of access to evidence; (3) availability of
 13    compulsory process for attendance of unwilling witnesses; (4) plaintiff’s choice of
 14    forum; and (5) administrative considerations. Decker Coal Co. v. Commonwealth
 15    Edison Co., 805 F.2d 834, 843 (9th Cir. 1986). The Ninth Circuit has directed that
 16    §1404(a) criteria require an “individualized case-by-case consideration of
 17    convenience and fairness.” Jones v. GNC Franchising, Inc., 211 F.3d 495, 498 (9th
 18    Cir. 2000). The court is to interpret these factors broadly and apply them to the
 19    particular facts of each case. E & J Gallo Winery v. F. & P. SPA, 899 F.Supp.465,
 20    466 (E.D. Cal. 1994).
 21          Deference to plaintiff’s choice of venue is diminished if the moving party
 22    establishes one or more of the following factors: (1) the operative facts have not
 23    occurred within the forum; (2) the forum has no particular interest in the parties or
 24    subject matter; (3) the forum is not the primary residence of either party; or (4) the
 25    subject matter of the litigation is not substantially connected to the forum. Metz v.
 26    U.S. Life Ins. Co. in City of New York, 674 F.Supp.2d 1141, 1146 (S.D. Cal. 2009).
 27                 1. Plaintiff’s Choice of Forum
 28          While there is a presumption in favor of honoring plaintiff’s choice of forum,
                                                  3
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   1   this presumption is considerably lessened when the forum lacks any significant
   2   contact with the activities alleged in the Complaint. As the Ninth Circuit explained:
   3                  Plaintiff’s choice of forum…is not the final word. In
                      judging the weight to be given such a choice,
   4
                      consideration must be given to the extent both of the
   5                  defendant’s business contacts with the chosen forum and
                      of the plaintiff’s contacts, including those relating to his
   6
                      cause of action. If the operative facts have not occurred
   7                  within the forum of original selection…the plaintiff’s
                      choice is entitled only to minimal consideration.
   8
   9   Pacific Car & Foundry Co. v. Pence, 403 F.2d 949, 954 (9th Cir. 1968). (emphasis
 10    added).
 11          In B&B Hardware, Inc., this Court explained that a plaintiff’s residence is
 12    never dispositive on the issue of venue and that the plaintiff alleged no conduct
 13    occurring uniquely in California. It held that in a trademark infringement action, the
 14    most appropriate forum is typically where the activities of the alleged infringer
 15    occurred.
 16                This is because “the operative facts in infringement cases
                   usually relate to the design, development and production of an
 17                infringing product.” AEC One Stop Group, Inc. v. CD
 18                Listening Bar, 326 F.Supp.2d 525, 520 (S.D.N.Y. 2004)
                   (copyright case); See also Saint-Gobain Calmar, Inc. v. Nat’l.
 19                Prods. Corp., 230 F.Supp.2d 655 (E.D. Pa. 2002) (The ‘center
                   of gravity’ for an infringement claim is in the district where
 20                the alleged infringement occurred. In finding that ‘center of
 21                gravity’, the district court ought to be as close as possible to
                   the milieu of the infringing device and the hub of activity
 22                centered around its production.) (quoting S.C. Johnson &
 23                Son, Inc. v. Gillette Co., 571 F.Supp. 1185, 1187-88 (N.D. Ill.
                   1983.))
 24
 25    2006 WL 4568798, *3. In B&B Hardware, this Court granted the motion to transfer

 26    venue even though plaintiff was located in the Central District of California in part

 27    because the operative facts in the trademark infringement dispute occurred in the

 28    district where defendant did business and where the activities surrounding the

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   1   alleged infringement occurred. See also Metz, 674 F.Supp.2d at 1145 (holding that
   2   the majority of defendant’s operations pertaining to the policy dispute occurred in
   3   the New York area, where defendant is based.)
   4         The same rationale was adopted in Cartier v. D & D Jewelry Imports, 510
   5   F.Supp. 344 (S.D.N.Y. 2007), involving claims of trademark, copyright and trade
   6   dress infringement. Plaintiff Cartier is a Delaware corporation with executive
   7   offices in New York, where it filed suit. Nevertheless, the court found that the locus
   8   of operative facts weighed strongly in favor of transfer to the Northern District of
   9   California because the subject of the litigation, defendants’ alleging infringing
 10    activities, occurred largely in California. Defendant was located in California, its
 11    website was operated out of California and the allegedly infringing items were
 12    shipped from California. In the instant case, the events giving rise to Nestlé’s
 13    claims occurred primarily in Pittsburgh, where the trademark and packaging was
 14    designed and developed, the product is manufactured and shipped and decisions
 15    regarding marketing and sales are made. (Sozio Decl. at ¶8, Ex. 1 (Perich Decl. at
 16    ¶¶1-19)). B&B Hardware, supra.
 17          Both Amazon.com v. Cendant Corp., 404 F.Supp.2d 1256, 1260 (W.D. Wash.
 18    2005) and GPNE Corp. v. Amazon.com, 2012 WL 1656923, *5-6 (D. Hawaii 2012)
 19    emphasized that even if plaintiff is a resident of the chosen forum, less deference is
 20    accorded when the action has little connection to that forum. In Amazon.com, the
 21    alleged infringement occurred on defendant’s websites, which were designed and
 22    maintained at defendants’ business headquarters, the center of gravity based on this
 23    hub of activity, citing S.C. Johnson & Son, Inc., 571 F.Supp.at 1188. The GPNE
 24    Corp. decision explained that courts look not to where the allegedly infringing
 25    product was sold but where it was designed, developed and tested, as well as where
 26    sales and marketing decisions were made, citing Data Retrieval Technology, LLC v.
 27    Sybase, Inc., 2009 WL 960681, *3 (W.D. Wash. Apr. 8, 2009) and Arete Power,
 28    Inc. v. Beacon Power Corp., 2008 WL 508477, *5 (N.D. Cal. Feb. 22, 2008).
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 1         In the instant case, the allegedly infringing trademark, packaging and
 2   products were all created, designed and developed in Pittsburgh, as were decisions
 3   regarding marketing, creation of the websites and sales of the FIT CRUNCH®
 4   nutritional bars. The FIT CRUNCH® product was also manufactured in and
 5   shipped from Bakery Barn, Inc., in Pittsburgh. (Sozio Decl. at ¶8, Ex. 1 (Perich
 6   Decl. at ¶¶5-7, 16)). This District has no particular connection with Pervine’s sale
 7   of its FIT CRUNCH® products. Put another way, its connection is the same as any
 8   other district court since the products are sold throughout the United States and not
 9   particularly targeted to this District. In addition, the owner of plaintiff’s trademark
10   is a Swiss corporation. Plaintiff is only its licensee. Thus, this factor strongly
11   weighs in favor of transfer to the Western District of Pennsylvania.
12                 2. Convenience of the Parties
13         The convenience of the parties strongly favors transfer to the Western District
14   of Pennsylvania, given their respective size and resources. Where a disparity
15   between the parties exists, the court may consider the relative means of the parties
16   in determining whether to transfer venue. In Tensor Group, Inc. v. All Press Parts
17   & Equipment, Inc., 966 F.Supp. 727, 728-29 (N.D. Ill. 1997), the court concluded
18   that convenience of the parties weighed in favor of transferring a copyright
19   infringement action from the Northern District of Illinois to the Eastern District of
20   Wisconsin because the plaintiff copyright holder was a large corporation that would
21   not be burdened by litigating in Wisconsin, while the alleged infringer was a one-
22   man operation that would be greatly burdened if forced to litigate in Illinois. The
23   same result was reached in Cartier, in which the court held that Cartier could better
24   afford to put on its case in California than defendants could afford to defend their
25   case in New York. Cartier, 510 F.Supp.2d at 347. When analyzing a motion to
26   transfer, courts may consider the parties relative ability to afford the expenses of
27   litigating in that forum. Jumara v. State Farm Ins. Co., 55 F.3d 873, 879 (3d Cir.
28   1995.)
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 1         Pervine is a small company with seven employees and a small executive staff
 2   of three people. Its business activities and employees are centered in Pennsylvania.
 3   Both Pervine and non-party Bakery Barn, Inc., the company that manufactures and
 4   ships its high-protein nutritional bars, are based in Pittsburgh. (Sozio Decl. at ¶8,
 5   Ex. 1 (Perich Decl. at ¶¶2, 4-11)). Requiring Pervine to litigate this matter in
 6   California would result in a significant financial burden and disruption of its
 7   operations, especially since it has only seven employees and a very small executive
 8   staff. (Sozio Decl. at ¶8, Ex. 1 (Perich Decl. at ¶¶4, 18)). Nestlé by its own
 9   admission is a multinational conglomerate with more than 51,000 employees
10   nationwide, $9.7 billion in sales in 2014, 25 manufacturing facilities, 43 distribution
11   centers and 13 sales offices across the country. (Sozio Decl. at ¶10, Ex. 3). As
12   such, plaintiff can well afford to litigate in Pennsylvania.
13                3. Convenience of Witnesses
14         This Court has said repeatedly that the most important factor in determining
15   whether venue transfer is appropriate is the convenience of the witnesses. A.J.
16   Industries v. U.S. District Court, 503 F.2d 384, 386-87 (9th Cir. 1974); Metz, 674
17   F.Supp.2d at 1147. In analyzing this factor, the Court must look to the nature and
18   quality of the witnesses’ testimony with respect to the issues of the case. Gates
19   Learjet Corp. v. Jensen, 743 F.2d 1325, 1335-26 (9th Cir. 1984).
20         The issues relevant to Nestlé’s trademark and trade dress infringement claims
21   include creation and design of the FIT CRUNCH® trademark, Pervine’s federal
22   trademark registrations and its packaging, Pervine’s intent in selecting its trademark
23   and packaging, the type of products Pervine sells and how and where it markets
24   those products. The individuals most knowledgeable about the creation of the
25   FIT CRUNCH® trademark and creation and design of packaging for the
26   FIT CRUNCH® nutritional protein bars are Sean Perich, President of Pervine, who
27   is also President of Bakery Barn, Inc., the company that manufactures the products,
28   Dave Plowden, a Pervine employee who works on marketing, graphic design, and
                                                 7
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 1   the fitcrunchbars.com website, Matt Cruny, the Chief Financial Officer for Pervine
 2   and Bakery Barn and Jim Perich. Jim Perich is a Member of Perich Investments
 3   LLC, one of the owners of Pervine, along with Sean Perich and Matt Cruny. (Sozio
 4   Decl. at ¶8, Ex. 1 (Perich Decl., ¶¶1, 8-13)). The same individuals can testify
 5   regarding Pervine’s intent in selecting its trademark and packaging, the type of
 6   products it sells and how it markets them. Sean and Jim Perich, Dave Plowden and
 7   Matt Cruny all reside in Pittsburgh, Pennsylvania, which is also the headquarters for
 8   Pervine, non-party Bakery Barn, Inc. and Perich Investments LLC. Most, if not all,
 9   documents relating to the creation, design, development and marketing of the
10   FIT CRUNCH® trademark and products are located at Pervine’s office in
11   Pittsburgh. (Sozio Decl. at ¶8, Ex. 1 (Perich Decl., at ¶¶2, 4, 8-11)).
12           Pervine has only seven employees. This includes a small marketing/sales
13   team consisting of Marissa Pittius, Lisa Zamparelli and John Kizer, along with Vice
14   President Mike Spinosa, who heads the team. Spinosa and this team work out of an
15   office in Manasquan, New Jersey and all four reside in New Jersey. This team
16   works closely with Pervine’s Pittsburgh headquarters. (Sozio Decl. at ¶8, Ex. 1
17   (Perich Decl. at ¶4)). In addition to the FIT CRUNCH® trademark, all
18   FIT CRUNCH® products display the trademark FortiFX®, which stands for
19   fortified nutrition. Perich Investments LLC owns the federal trademark registration
20   for FortiFX® and Jim Perich, one of its Members who resides in Pittsburgh, is most
21   knowledgeable about this mark. (Sozio Decl. at ¶8, Ex. 1 (Perich Decl. at ¶¶9, 12-
22   14)).
23           Pervine is also owned by Irvine Nutritional, LLC and Chef Robert Irvine is its
24   owner and Manager. (Sozio Decl. at ¶9, Ex. 2 (Irvine Decl. at ¶¶1-2)). Chef Robert
25   Irvine is an essential component to the success of Pervine’s FIT CRUNCH® brand.
26   The FIT CRUNCH® products and packaging prominently display his name and
27   likeness. While Mr. Irvine resides in Tampa, Florida, he maintains his business
28   office in Philadelphia, which serves as the base for his marketing activities and
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 1   other services related to Pervine’s business operations. (Sozio Decl. at ¶9, Ex. 2
 2   (Irvine Decl. at ¶¶2-4)). Pervine’s Board of Managers meetings are held at its
 3   headquarters in Pittsburgh and on occasion at Mr. Irvine’s business office in
 4   Philadelphia. (Sozio Decl. at ¶8, 9, Ex. 1 (Perich Decl. at ¶16) and Ex. 2 (Irvine
 5   Decl. at ¶4)). Neither Pervine, Perich Investments, LLC, Bakery Barn, Inc., nor
 6   Irvine Nutritional, LLC, have offices or employees in California. (Sozio Decl. at
 7   ¶8, 9, Ex. 1 (Perich Decl. at ¶19) and Ex. 2 (Irvine Decl. at ¶5)).
 8         One of Pervine’s key customers is GNC Holdings, Inc., a leading specialty
 9   retailer of health and wellness products, including nutritional supplement and sports
10   nutrition products. GNC is headquartered in Pittsburgh. It sells Pervine’s
11   FIT CRUNCH® high-protein nutrition bars in its specialty nutrition segment.
12   (Sozio Decl. at ¶8, Ex. 1 (Perich Decl. at ¶17)). The importance of GNC cannot be
13   overstated since its reputation for selling reputable and effective nutritional
14   products carries great weight with consumers. That GNC sells Pervine’s
15   FIT CRUNCH® products in its specialty nutrition segment enhances the
16   FIT CRUNCH® brand as a sports nutrition product.
17         The availability of process to compel the testimony of important witnesses is
18   an important consideration in motions to transfer. Cambridge Filter Corp. v.
19   International Filter Co., Inc., 548 F.Supp. 1308, 1311 (D. Nev. 1982); Bionx
20   Implants, Inc. v. Biomet, Inc., 1999 WL 342306, *5 (S.D.N.Y. May 27, 1999).
21   GNC representatives are non-parties and thus beyond the power of compulsory
22   process, as is Chef Robert Irvine and non-party Bakery Barn, Inc. Pervine is
23   entitled to a vigorous defense and this Court’s inability to compel compulsory
24   testimony of key witnesses compromises that right. As the Supreme Court noted in
25   Gulf Oil v. Gilbert, 330 U.S. 501 (1947), “To fix the place of trial at a point where
26   litigants cannot compel personal attendance and may be forced to try their cases on
27   deposition, is to create a condition not satisfactory to court, jury or most litigants”.
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 1   Thus, in addition to employees of Pervine, likely third party witnesses include
 2   representatives of its key customer GNC, as well as Chef Robert Irvine.
 3         As to the issue of any alleged confusion, plaintiff presumably would be able
 4   to obtain non-party witnesses in Pennsylvania to testify. In Black and Decker Corp.
 5   v. Vermont American Corp, 915 F.Supp. 933, 938 (N.D. Ill. 1995), the court
 6   transferred the trademark infringement action from Illinois to Kentucky for the
 7   convenience of the parties and witnesses. While plaintiff argued that consumer
 8   confusion would be a key issue, the court noted that since plaintiff alleged
 9   nationwide infringement, it presumably could find witnesses within the subpoena
10   power of the transferring district on this issue.
11         In the instant case, most of the key witnesses with knowledge of the creation
12   and design of the trademark and packaging at issue, as well as marketing and sale of
13   the high-protein nutritional bars, reside in Pennsylvania. Pervine’s small
14   marketing/sales team resides in New Jersey. Third party witnesses, such as GNC
15   and Chef Robert Irvine, are not subject to this Court’s subpoena power. Further,
16   since the majority of witnesses are located in Pennsylvania, litigating there would
17   significantly lower the overall costs associated with travel for the purpose of
18   discovery and pre-trial proceedings, as well as trial, tipping this factor in favor of
19   transfer to the Western District of Pennsylvania. The convenience for and cost of
20   attendance of witnesses is likely the single most important factor in a transfer
21   analysis. In re Genentech, Inc., 566 F.3d 1338, 1343 (Fed. Cir. 2009).
22                4. Ease of Access to Evidence
23         Most of the documentary and physical evidence in this matter is located in
24   Pittsburgh. (Sozio Decl. at ¶8, Ex. 1 (Perich Decl., at ¶11)). While this factor is of
25   less importance in our electronic age, the Federal Circuit has held that while
26   advances in technology may alter the weight given to the location of documentary
27   evidence, it is improper to ignore this factor entirely. In re Link A Media Devices
28   Corp., 662 F.3d 1221, 1224 (Fed. Cir. 2011). In B&B Hardware, this Court
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 1   concluded that this factor weighed in favor of transfer because the relevant evidence
 2   is derived from defendant’s allegedly infringing business and marketing activities.
 3   2006 WL 4568798, *6.
 4         C. Interests of Justice
 5         Since no answer has been filed, it is the opportune time for a transfer of
 6   venue. As outlined above, most of the critical witnesses and proofs are located in
 7   the Pittsburgh area, with a few in New Jersey. Most significant, one of Pervine’s
 8   key customers, GNC Holdings, Inc., which sells the FIT CRUNCH® nutrition bars
 9   in its specialty nutrition segment, is headquartered in Pittsburgh. Further, Chef
10   Robert Irvine, an essential component of the FIT CRUNCH ® brand, works out of
11   his Philadelphia office. (Sozio Decl. at ¶8, 9, Ex. 1 (Perich Decl. at ¶1-18) and Ex.
12   2 (Irvine Decl. at ¶1-4)).
13         Pervine is a very small company and forcing it to litigate this case in this
14   District would impose an undue financial burden. Requiring key officers to travel
15   to California would significantly disrupt its business operations since management
16   is small and it has only a handful of employees. This is a David and Goliath
17   scenario in which Nestlé and the Swiss company that owns the trademark have
18   unlimited resources. Forcing Pervine to bear the significant burden of litigating in
19   this District does not serve the interests of justice. Finally, the operative facts
20   relating to the alleged infringement all center around Pittsburgh, Pennsylvania. For
21   these reasons, the interests of justice weigh heavily in favor of a transfer of venue,
22   especially because this District has minimal interest in this matter.
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 1   III.     CONCLUSION
 2            For the foregoing reasons, Pervine Foods, LLC respectfully requests that this
 3   Court transfer the instant lawsuit to the Western District of Pennsylvania because it
 4   will better serve the interests of justice and the convenience of the parties and
 5   witnesses.
 6
 7   Dated: January 25, 2016             TRESSLER LLP
 8
 9                                       BY:/s/ - Michaela L. Sozio
                                            Michaela L. Sozio
10
                                            Jeanne Kuo Riggins
11                                          One of the Attorneys for Defendant
                                            Pervine Foods, LLC
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